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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Glynis Brooks,                                     No. CV-17-00569-PHX-GMS
10                  Plaintiff,                          ORDER
11   v.
12   Equifax Information Services LLC,
13                  Defendant.
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16            IT IS HEREBY ORDERED granting the parties’ Stipulation to Dismiss (Doc.
17   40) with prejudice, with each party to bear its own attorneys’ fees and costs.
18            Dated this 12th day of March, 2018.
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20                               Honorable G. Murray Snow
                                 United States District Judge
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